




















Opinion
issued January 27, 2011

&nbsp;




 
  
  
  
 




&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;

&nbsp;

In The

Court of Appeals

For The

First District of Texas

&nbsp;



&nbsp;

NO. 01B09B00424BCV

&nbsp;



&nbsp;

LEJUAN BAILEY AND SHAWN
YOUNG, Appellants

&nbsp;

V.

&nbsp;

MICHAEL PELLETIER D/B/A
FAIRMONT HOMES, Appellee

&nbsp;



&nbsp;

On Appeal from the County
Court at Law No. 1

Fort Bend County, Texas

Trial Court Cause No.
09CCV038726

&nbsp;



&nbsp;

MEMORANDUM
OPINION








Appellants Lejuan Bailey and Shawn Young have
neither established indigence, nor paid or made arrangements to pay the clerk=s fee for
preparing the clerk=s
record.&nbsp; See Tex. R. App. P. 20.1 (listing
requirements for establishing indigence), 37.3(b) (allowing dismissal of appeal
if no clerk=s record filed due to appellant=s
fault).&nbsp; After being notified that this
appeal was subject to dismissal, appellants did not adequately respond.&nbsp; See Tex.
R. App. P. 42.3(c) (allowing involuntary dismissal of case).

We dismiss the appeal for want of prosecution
for failure to pay, or make arrangements to pay, the clerk=s
fee.&nbsp; All pending motions are dismissed.

PER
CURIAM

Panel consists of Justices Keyes, Sharp, and Massengale.





